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 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                                  Case No. 2:16-CR-305-KJD-VCF

12   v.                                                 ORDER

13   KAREEN ANDERSON,

14          Defendant.

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16          Presently before the Court is the Order (#135) of the Ninth Circuit Court of Appeals

17   remanding this action to the present court for the purpose of permitting the Court to provide

18   appellant notice and opportunity to request time for the filing of the notice of appeal to be extended.

19   Also before the Court is Defendant’s Motion to Extend Time to File Notice of Appeal (#136).

20          On May 2, 2017, the Court denied (#85) Defendant’s Motion for Amendment of Detention

21   (#70). Defendant did not file his Notice of Appeal (#99) until May 25, 2017. Defendant blames his

22   failure to act timely on miscounting the intervening weekends and the Cinco de Mayo holiday.

23   However, even accounting for Plaintiff’s pro se status and the failure to count weekends, his motion

24   was still late. Further, Cinco de Mayo is not a national holiday that keeps the mail from delivery or

25   processing. Finally, in the intervening weeks, Defendant timely filed other motions and responses.

26   Alternatively, Defendant’s appeal of the detention order is not meritorious, so even if the Court were
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 1   to find excusable neglect, the extension would be moot given the frivolous nature of Defendant’s

 2   appeal.

 3             Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to Extend Time (#136) is

 4   DENIED;

 5             IT IS FURTHER ORDERED that Defendant’s Motions for Transcripts (#98) and To Waive

 6   Fees (#102) are DENIED as moot.

 7             DATED this 25TH day of October 2017.

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                                                 Kent J. Dawson
11                                               United States District Judge

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